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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   OFFICE OF THE CLERK

                                                 August 30, 2013



 Ms. Louise Bond
 4th Judicial District Court
 Ouachita Parish
 301 S Grand, Rm 104
 P O Box 1862
 Monroe, LA 71210




    In re: Civil Action No. 3:13−cv−02462−RGJ−KLH
           JONES ET AL V. CORNERSTONE HOSPITAL OF WEST MONROE L L C
           Your Case No. 13−1989

 Dear Clerk:

     Please be advised that the above captioned matter has been remanded to your Court. We enclose herewith
 certified copies of our docket entries and the Judgment or Order to Remand.

     The official court record for the Western District of Louisiana is the electronic case filing system,
 CM/ECF. Our website is: http://ecf.lawd.uscourts.gov; counsel may access this database to obtain any
 pleadings you require.

    Please acknowledge receipt on the enclosed copy of this letter.

   ATTORNEYS ARE ADVISED THAT ALL FUTURE FILINGS SHOULD BE DIRECTED TO THE
 RECEIVING COURT NAMED ABOVE.

    For questions regarding this document or transmission, please call our CM/ECF help desk at
 1−866−323−1101.

    THUS DONE August 30, 2013.



                                                             TONY R. MOORE
                                                             CLERK OF COURT

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                                                             DEPUTY CLERK OF COURT
